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uNlTED sTATEs oF AMERicA W 05 TN. fiEiiPHS
Plaintiff

VS.
CR. NO. 04-20270-D

ANDRES RAYO-MALDONADO

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PERlOD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju ne 30, 2005. At that time, counsel forthe
defendant requested a continuance of the Ju|y 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to August 1, 2005 with a
re ort date of Thursda Jul 21 2005 at 9:00 a.m., in Courtroom 3 9th Floor of the

 

 

Federa| Bui|ding, Memphis, TN.

The period from July 15, 2005 through August 12, 2005 is excludable under 18
U.S.C. § 31 61 (h)(8)(B)(iv) because the ends of justice served in allowing for additional time
to prepare outweigh the need for a speedy tria|.

|T lS SO ORDERED this _L day of July, 2005.

 

U |TED STATES DlSTR|CT JUDGE

Thls document entered on the docket sheet in crij§iianca
with Flule 55 and/or 32(b) FRCrP on

 

UNITED sATE DSTIIC COURT - WETER DISTRCT oFTENNESSEE

   

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July ]3, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

